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                                     Exhibit 2

                        Defendants’ Proposed Amended Charts
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                                  Invalidity of Asserted Claims of U.S. Patent No. 7,532,200
                   Under 35 U.S.C. §§ 102(a),(b) and 103 by Japanese Patent Application No. JP3090806 (U)1

        Based upon the claim interpretations Better Mouse Company, LLC (“BMC”) appears to be asserting and the applications of
those interpretations to Defendants’ products in BMC’s Infringement Contentions, JP3090806 (U) anticipates and/or renders obvious,
alone or in combination with other prior art identified in Defendants’ Invalidity Contentions, the asserted claims as described in part
below. This invalidity claim chart is not an admission by Defendants that the accused products, including any current or past versions
of these products, are covered by, or infringe these claims, particularly when they are properly construed. Nothing in these
contentions should be interpreted as an acquiescence to or assertion of a particular claim construction by Defendants.



                 ’200 Claim Language                                                   JP3090806 (U)
1.     1. An apparatus for setting multi-stage       JP3090806 (U) discloses an apparatus that sets multi-stage displacement
       displacement resolution of a mouse,           resolution of a mouse. See, e.g., ¶ 0004 (describing the invention as an “adjustable
       comprising:                                   mouse … [with] a speed change key … [to] change the degree of analysis of this
                                                     mouse directly by the switching operation of this speed change key, [which]
                                                     changes the movement speed on the monitor”).

1A     a X-Y axis plane displacement detector, for   JP3090806 (U) discloses an X-Y axis plane displacement detector that senses the
       sensing a distance and a moving direction     distance and moving direction of the mouse. See, e.g., ¶ 0005 (“An image sensor
       generated by the mouse in a two-              can detect change of a movement zone, and it can convert to the degree of
       dimensional space;

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  Japanese Utility Model Application No. JP3090806 (U) was published on October 9, 2002, which was well before the January 18,
2005, filing date of U.S. Patent No. 7,532,200 (“the ’200 Patent”). JP3090806 (U) therefore constitutes prior art under 35 U.S.C. §§
102 (a) and (b). To the extent that JP3090806 (U) is found not to anticipate one or more claims of the ’200 Patent under 35 U.S.C.
§102, JP3090806 (U) renders those claims obvious under 35 U.S.C. §103 when combined with other art identified in Defendants’
Invalidity Contentions. It would have been obvious to combine the teachings of JP3090806 (U) with other art identified in
Defendants’ Invalidity Contentions at least because the references all pertain to setting multi-stage displacement resolution of a
computer mouse directly through a switch on the mouse.



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               ’200 Claim Language                                                    JP3090806 (U)
                                                    analysis, and a x axis and y axis coordinates can be input….”).

1B   a switching circuit for setting a resolution   JP3090806 (U) discloses a switching circuit for setting a resolution value, the
     value, the switching circuit having multiple   switching circuit having multiple switches for being manually adjusted to generate
     switches for being manually adjusted to        the resolution value directly, without the use of a software driver/tool running on a
     generate the resolution value directly, each   computer to which the mouse is connected. See, e.g., ¶ 0006 (“A speed change
     switch being coupled to a resolution setting   key or a push button is connected with the microcontroller, 2 or more sets of
     pin, each resolution setting pin having a      different analysis degree control programs are incorporated in this microcontroller,
     state determined by the switch coupled         and selection use of the mouse of this design is carried out with a speed change
     thereto; and                                   key or a push button. When using the above structure, directly by control of this
                                                    speed change key or a push button, [c]hoose one analysis degree program in a
                                                    microcontroller, and it enables it to read a picture signal by the speed which is the
                                                    degree of analysis from which an image sensor differs….”). On information and
                                                    belief, the mouse microprocessor disclosed in JP3090806 (U) must have “pins.”
                                                    Pins are necessary for an integrated circuit such as a microcontroller to electrically
                                                    interface with other electrical components and/or a circuit board. Since the
                                                    microcontroller of JP3090806 (U) electrically interfaces with several other
                                                    electrical components, it necessarily includes pins.

1C   a mouse micro controller with a register,      On information and belief, a person of ordinary skill in the art knows that all
     coupled to the X-Y axis plane displacement     microcontrollers necessarily have multiple registers and that any parameter
     detector and the switching circuit, the        calculated or read by the microcontroller must be stored for some period of time in
     mouse micro controller determining the         a register in the microcontroller. JP3090806 (U) discloses a microcontroller that
     resolution value based on the states of the    sets mouse resolution (and stores it in a register) based on the states of the
     resolution setting pins, setting a mouse       resolution setting pins. The states of the resolution setting pins are determined by
     resolution based on the resolution value       the speed change key or push button 5. JP3090806 (U) further discloses that the
     and storing the resolution value in the        mouse micro controller responds to the distance and moving direction sensed by



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               ’200 Claim Language                                                    JP3090806 (U)
     register, the mouse micro controller           the X-Y axis plane displacement detector to provide a control signal to a computer
     responding to the distance and moving          connected to the mouse, thereby moving the mouse cursor on a screen of the
     direction sensed by the X-Y axis plane         computer, the mouse cursor being moved directly based on the resolution value
     displacement detector to provide a control     stored in the register. See, e.g., ¶ 0007. (“[T]his design combines the
     signal to a computer connected to the          microcontroller 1 and the image sensor 2. This image sensor 2 reads the reference
     mouse, thereby moving the mouse cursor         scattered number (degree of analysis) signal of each unit movement in response to
     on a screen of the computer, the mouse         control of the microcontroller 1…. After converting and making with a x axis and
     cursor being moved directly based on the       y axis-coordinates value, it transmits to the microcontroller 1.”); see also ¶ 0006
     resolution value stored in the register.       (“Furthermore, a microcontroller … transmits to a computer, and the movement
                                                    speed on the monitor of the cursor of this mouse is changed simply in this way,
                                                    and it enables … good move accuracy.”).



2.   The apparatus as claimed in claim 1,           JP3090806 (U) discloses an improvement upon a standard mouse, thereby
     further comprising a button set for clicking   rendering it an “adjustable mouse.” A person of ordinary skill in the art would
     an icon selected by the mouse cursor.          understand that a standard mouse includes two buttons, a left button and a right
                                                    button (i.e., a “button set”), for clicking an icon selected by the mouse cursor. To
                                                    the extent a mouse with a “button set for clicking an icon” was not disclosed in
                                                    JP3090806 (U), it would have been obvious to incorporate a button set like that
                                                    disclosed in Chien. See Chien, at Fig. 2. A person of skill in the art would have
                                                    been motivated to use a mouse with left and right buttons because it is a practical,
                                                    convenient, and standard mouse configuration and because it would conform to
                                                    existing devices and therefore consumer expectations.



3.   The apparatus as claimed in claim 2,           JP3090806 (U) discloses an improvement upon a standard mouse, thereby



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               ’200 Claim Language                                                    JP3090806 (U)
     wherein the button set has a left button and   rendering it an “adjustable mouse.” A person of ordinary skill in the art would
     a right button.                                understand that a standard mouse includes two buttons, a left button and a right
                                                    button (i.e., a “button set”), for clicking an icon selected by the mouse cursor. To
                                                    the extent a mouse with a “button set for clicking an icon” was not disclosed in
                                                    JP3090806 (U), it would have been obvious to incorporate a button set like that
                                                    disclosed in Chien. See Chien, at Fig. 2. A person of skill in the art would have
                                                    been motivated to use a mouse with left and right buttons because it is a practical,
                                                    convenient, and standard mouse configuration and because it would conform to
                                                    existing devices and therefore consumer expectations.



4.   The apparatus as claimed in claim 1,           JP3090806 (U) discloses a speed change key or push button 5 that is designed to
     wherein the switching circuit is configured    be manually adjusted. To the extent such a manually speed change key or push
     on a lateral surface of the mouse.             button was found not to be configured on a lateral side of a mouse, Chien discloses
                                                    a mouse with a “changeable input ratio” (Chien, at 1:7-8) where when two
                                                    switches positioned on the lateral frame of the mouse are pressed, a
                                                    microprocessor in the mouse multiplies the sliding dance by a predetermined
                                                    constant. Id., at 3:10-16. It would have been obvious to position the speed change
                                                    key or push button like that disclosed in JP3090806 (U) “on a lateral surface of the
                                                    mouse,” as taught by Chien. A mouse designer has freedom to place switches
                                                    wherever is most convenient for the user. Placing the resolution setting switch on
                                                    a lateral surface of the mouse is obvious. A person of skill in the art would have
                                                    been motivated to place a switch on a lateral surface of the mouse so that users are
                                                    not confused with the mouse’s normal operation buttons and so that the resolution
                                                    setting buttons are not depressed accidentally.




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               ’200 Claim Language                                                    JP3090806 (U)
6A   a X-Y plane displacement detector, for         See claim limitation 1A.
     sensing a distance and a moving direction
     generated by the mouse in a two-
     dimensional space;
6B   an N-stage switch for setting a resolution     See claim limitation 1B. Because JP3090806 (U) discloses two or more resolution
     value, the N-stage switching circuit having    settings based on degree control analysis, JP3090806 (U) discloses an N-stage
     a switching button capable of being            switch capable of being switched to one of positions 1 to N, where N is 2 or more.
     manually switched to one of the positions 1    See, e.g., ¶ 0006 (“A speed change key or a push button is connected with the
     to N, and accordingly activating a             microcontroller, 2 or more sets of different analysis degree control programs are
     connected resolution setting pin to indicate   incorporated in this microcontroller, and selection use of the mouse of this design
     a state, where N is a positive integer; and    is carried out with a speed change key or a push button. When using the above
                                                    structure, directly by control of this speed change key or a push button, [c]hoose
                                                    one analysis degree program in a microcontroller, and it enables it to read a picture
                                                    signal by the speed which is the degree of analysis from which an image sensor
                                                    differs….”).

6C   a mouse micro controller with a register,     See claim limitation 1C.
     coupled to the X-Y axis plane displacement
     detector and the switching circuit, the
     mouse micro controller determining the
     resolution value based on the state of the
     connected resolution setting pins, setting a
     mouse resolution based on the resolution
     value and storing the resolution value in the
     register, the mouse micro controller
     responding to the distance and moving
     direction sensed by the X-Y axis plane



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               ’200 Claim Language                                                    JP3090806 (U)
     displacement detector to provide a control
     signal to a computer connected to the
     mouse, thereby moving the mouse cursor
     on a screen of the computer, the mouse
     cursor being moved directly based on the
     resolution value stored in the register.


7.   The apparatus as claimed in claim 6,           See claim limitation 2.
     further comprising a button set for clicking
     an icon selected by the mouse cursor.


8.   The apparatus as claimed in claim 7,           See claim limitation 3.
     wherein the button set has a left button and
     a right button.


9.   The apparatus as claimed in claim 6,           JP3090806 (U) discloses a speed change key or push button 5 that is designed to
     wherein the N-stage switch is configured       be manually adjusted. To the extent such a manually speed change key or push
     on a lateral surface of the mouse.             button was found not to be configured on a lateral side of a mouse, Chien discloses
                                                    a mouse with a “changeable input ratio” (Chien, at 1:7-8) where when two
                                                    switches positioned on the lateral frame of the mouse are pressed, a
                                                    microprocessor in the mouse multiplies the sliding dance by a predetermined
                                                    constant. Id., at 3:10-16. It would have been obvious to position the speed change
                                                    key or push button like that disclosed in JP3090806 (U) “on a lateral surface of the
                                                    mouse,” as taught by Chien. A mouse designer has freedom to place switches
                                                    wherever is most convenient for the user. Placing the resolution setting switch on


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 ’200 Claim Language                                           JP3090806 (U)
                             a lateral surface of the mouse is obvious. A person of skill in the art would have
                             been motivated to place a switch on a lateral surface of the mouse so that users are
                             not confused with the mouse’s normal operation buttons and so that the resolution
                             setting buttons are not depressed accidentally.




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Japanese Utility Model Application U3090806 (“Zhong”), was published on December 26, 2002, over two years before the claimed
priority date of the ’200 patent. Accordingly, Zhong constitutes prior art under 35 U.S.C. § 102(b). Zhong anticipates claims 6-8 and
renders obvious claims 1-4 and 9 of the ’200 patent for the following reasons.



’200 Patent Claim Elements                J.P. U3090806 (“Zhong”)
[1a]: An apparatus for setting multi-     Zhong discloses this claim element. Claim 1 is obvious in light of Zhong and Giorgio or
stage displacement resolution of a        Chien.
mouse, comprising:
                                          “(Problem) To provide a mouse with adjustable cursor movement resolution.
                                          (Means for solving) A mouse with adjustable cursor movement resolution, wherein an
                                          image sensor detects change in movement location and converts it to resolution, acquires x
                                          axis and y axis coordinates and sends them to a microcontroller, which sends a signal to a
                                          computer, the microcontroller being provided with a key switch set comprising a left,
                                          middle and right keys, etc., and a communication switch key, wherein the microcontroller is
                                          provided with a speed switch key or pushbutton and has two or more different resolution
                                          control programs built in, and one of the resolution programs of the microcontroller is
                                          selected through speed switch key or pushbutton control, allowing switching of the reading
                                          resolution of the image sensor between high resolution and low resolution and making it
                                          possible to change the movement speed of the mouse cursor on the monitor and to obtain
                                          good movement precision.”

                                          Zhong at Abstract

                                          “The present invention pertains to a type of mouse with adjustable cursor movement
                                          resolution; specifically, the invention relates to a mouse with adjustable cursor movement
                                          resolution having a mouse structure controlled using an image sensor, wherein a speed
                                          switch key is provided, by means of which it is possible to select the resolution of the image
                                          sensor, i.e. the movement coordinate read speed, and change the movement speed of the
                                          mouse cursor on the monitor, which mouse furthermore has relatively good movement
                                          accuracy.”




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’200 Patent Claim Elements               J.P. U3090806 (“Zhong”)
                                         Zhong at ¶ 1.

                                         Chien discloses this claim element. See Exhibit B.

                                         Giorgio discloses this claim element. See Exhibit C.

[1b]: a X-Y axis plane displacement      Zhong discloses this claim element.
detector, for sensing a distance and a
moving direction generated by the        “As shown in FIGS. 1, 2 and 3, the present invention combines a microcontroller 1 and an
mouse in a two-dimensional space;        image sensor 2. Of these, the image sensor 2, under control of the microcontroller 1, reads
                                         the reference point count (resolution) of unit movement amounts, converts this to obtain x
                                         axis and y axis coordinate values, and then transmits these to the microcontroller 1, which
                                         sends these signals to and makes them available for use by a computer; furthermore, a key
                                         set 3 of left, middle, right, etc., keys and a PS2 or USB communication switch key 4 are
                                         connected to the microcontroller 1. “

                                         Zhong at ¶ 7.




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’200 Patent Claim Elements                  J.P. U3090806 (“Zhong”)




                                            Zhong at Fig. 2 (annotated)

                                            Chien discloses this claim element. See Exhibit B.

                                            Giorgio discloses this claim element. See Exhibit C.
[1c]: a switching circuit for setting a     It would have been obvious to combine Zhong with Chien or Giorgio to produce a mouse
resolution value, the switching circuit     having this claim element.
having multiple switches for being
manually adjusted to generate the           The mouse described in Zhong adjusted the mouse resolution based on manual inputs from
resolution value directly, each switch      the user, and not computer software: “Generally, in the case of mice used with computers,
being coupled to a resolution setting       after connection thereof and installation of a driver program, the mouse cursor movement
pin, each resolution setting pin having a   speed is set in accordance with a settings value of the driver program. If there is a need to
state determined by the switch coupled      adjust the mouse cursor movement speed due to usage requirements, the adjustment is
thereto; and                                usually performed through mouse clicks under a Windows operating system. However, such




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)
                                  adjustment only affects the execution speed of the mouse system and cannot change the
                                  resolution during mouse movement (and such known technology only has the function of
                                  increasing execution speed and does not have the function of increasing accuracy of
                                  resolution). Thus, the cursor movement speed and accuracy adjustment which this
                                  accomplishes is limited, and the scheme for carrying this out is relatively laborious and not
                                  convenient to use.

                                  Known structures include another type of scheme for changing the movement speed of a
                                  mouse cursor on a monitor, which uses software computation and processes the coordinate
                                  signals (resolution) directly read by the mouse through a multiplication scheme to achieve
                                  the object of increasing cursor movement speed. However, this method, when reflecting one
                                  coordinate point read by the mouse onto the monitor, changes it to a movement distance of
                                  two, three or more coordinate points on the monitor, so movement accuracy of the cursor on
                                  the monitor is actually lost, making the method unsuitable for use with high precision
                                  screens.”

                                  Zhong at ¶¶ 2-3.

                                  Zhong disclosed adjusting the resolution directly: “The main object of the present invention
                                  consists in providing a type of mouse with adjustable cursor movement resolution, wherein
                                  the mouse is provided with a speed switch key, the resolution of the mouse is changed
                                  directly through switching operation of the speed switch key, thereby changing the
                                  movement speed of the mouse cursor on the monitor, the mouse being provided with good
                                  movement accuracy and being convenient in terms of manipulation and use.”

                                  Zhong at ¶ 4 (emphasis added).

                                  Zhong discloses a switching circuit, the switching circuit having a switch for being
                                  manually adjusted to generate the resolution value directly: “A speed switch key or
                                  pushbutton 5 is connected to the microcontroller 1, which has two or more different built-in
                                  resolution control programs, which are selected and put to use by means of the speed switch
                                  key or pushbutton 5.”




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)

                                  Zhong at ¶ 8.




                                  Zhong at Fig. 3 (annotated, showing the switching circuit)

                                  Zhong discloses a switch being coupled to a resolution setting pin, the resolution setting pin
                                  having a state determined by the switch coupled thereto: “[T]he mouse with adjustable
                                  cursor movement resolution being characterized in that a speed switch key or pushbutton is
                                  connected to the microcontroller, two or more different resolution control programs are built



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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)
                                  into the microcontroller and made available for use through selection with the speed switch
                                  key or pushbutton, and when using the above structure, one resolution program of the
                                  microcontroller is selected through control of said speed switch key or pushbutton, the
                                  image sensor is made to read an image signal at a speed based on a different resolution,
                                  which signal further passes through the microcontroller and is transferred and made
                                  available for use to the computer, thereby making it possible to simply change the
                                  movement speed of the mouse cursor on the monitor and allowing good movement accuracy
                                  to be obtained.”

                                  Zhong at ¶ 5.




                                   Zhong at Fig. 2 (annotated)




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)




                                  Zhong at Fig. 1 (annotated to show the resolution setting-pin and the switching circuit and
                                  switch)

                                  Although Zhong did not expressly disclose the use of “multiple” switches for adjusting the
                                  resolution of the mouse, it would have been obvious to create such a mouse in light of Chien
                                  and Giorgio. Zhong states that the goal of the mouse is to allow the sliding switch to
                                  control “two or more” resolution control programs. One of ordinary skill in the art would
                                  readily recognize that using multiple switches would facilitate controlling more than two
                                  resolution control programs. A single switch can represent only two states; two switches,




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)
                                  however, can represent four states. For example, if shown by binary, two switches can
                                  represent the four states 00, 01, 10, and 11.

                                  Chien GB 2215455A at Fig. 2 discloses two resolution setting switches 2:




                                  The mouse of Zhong could have been readily modified to use two resolution-switches
                                  instead of one, as was done in Chien.

                                  Giorgio US 5,119,077 at Fig. 1 also discloses two resolution-setting switches 12:




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’200 Patent Claim Elements                J.P. U3090806 (“Zhong”)




                                          The mouse of Zhong could have been readily modified to use two resolution-switches
                                          instead of one, as was done in Giorgio.

[1d]: a mouse micro controller with a     Zhong discloses this claim element.
register, coupled to the X-Y axis plane
displacement detector and the             “The invention of Claim 1 is a mouse with adjustable cursor movement resolution
switching circuit,                        comprising a microcontroller and an image sensor, wherein the image sensor can detect
                                          change of movement position, convert it to resolution, acquire x axis and y axis coordinates
                                          and send them to the microcontroller, the microcontroller sends signals to a computer, the
                                          computer is made to send signals to the microcontroller, and a key switch set comprising
                                          left, middle and right keys, etc., and a PS2 or USB communication switch key are connected
                                          to the microcontroller . . . .”

                                          Zhong at ¶ 5.



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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)




                                  Zhong at Fig. 2 (annotated)

                                  Zhong, at a minimum, inherently discloses a register within the microcontroller for storing
                                  the resolution value. The microcontroller in Zhong stores multiple programs, each program
                                  for use with a particular dpi value, which would require a register: “The mouse 10 of the
                                  present invention, as described above, achieves the object of the present invention in that,
                                  after the switching control of the speed switch key or pushbutton 5, the appropriate
                                  resolution program selection is entered into in the microcontroller 1, and the image sensor 2
                                  is made to read movement amount signals using that selected resolution program.
                                  Furthermore, assuming the resolution control program in the microcontroller 1 is divided
                                  into two types, one being low resolution (400 dpi) and the other high resolution (800 dpi), if
                                  the cursor movement amount on the monitor reflecting a unit movement distance of the




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’200 Patent Claim Elements                J.P. U3090806 (“Zhong”)
                                          mouse 10 is 10 cm when low resolution is selected and used, it becomes possible to change
                                          the cursor movement amount on the monitor reflecting a unit movement distance of mouse
                                          10 from 10 cm to 20 cm by switching to the high resolution program of the mouse 10,
                                          without changing the resolution of the monitor itself, which allows one to achieve the object
                                          of increasing the movement speed of the cursor of the mouse 10 on the monitor and is
                                          convenient in terms of user manipulation and control.”

                                          Zhong at ¶ 10.

                                          Chien discloses this claim element. See Exhibit B.

                                          Giorgio discloses this claim element. See Exhibit C.
[1e]: the mouse micro controller          Zhong discloses this claim element.
determining the resolution value based
on the states of the resolution setting   “When using the above structure, if there is need to change the image acquisition resolution
pins,                                     or the mouse 10 or the movement speed of the cursor on the monitor, through direct control
                                          of the speed switch key or pushbutton 5, one of the resolution control programs (for
                                          example, a 400 dpi or 800 dpi mouse resolution program) in the microcontroller 1 is entered
                                          into, the image signal is read by the image sensor 2 at the speed given by the selected mouse
                                          resolution program, and is transmitted from the microcontroller to the computer and made
                                          available for use.”

                                          Zhong at ¶ 9.

                                          Chien discloses this claim element. See Exhibit B.

                                          Giorgio discloses this claim element. See Exhibit C.

[1f]: setting a mouse resolution based    Zhong discloses this claim element.
on the resolution value and storing the
resolution value in the register,         “When using the above structure, if there is need to change the image acquisition resolution
                                          or the mouse 10 or the movement speed of the cursor on the monitor, through direct control




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’200 Patent Claim Elements               J.P. U3090806 (“Zhong”)
                                         of the speed switch key or pushbutton 5, one of the resolution control programs (for
                                         example, a 400 dpi or 800 dpi mouse resolution program) in the microcontroller 1 is entered
                                         into, the image signal is read by the image sensor 2 at the speed given by the selected mouse
                                         resolution program, and is transmitted from the microcontroller to the computer and made
                                         available for use.

                                         The mouse 10 of the present invention, as described above, achieves the object of the
                                         present invention in that, after the switching control of the speed switch key or pushbutton
                                         5, the appropriate resolution program selection is entered into in the microcontroller 1, and
                                         the image sensor 2 is made to read movement amount signals using that selected resolution
                                         program. Furthermore, assuming the resolution control program in the microcontroller 1 is
                                         divided into two types, one being low resolution (400 dpi) and the other high resolution
                                         (800 dpi), if the cursor movement amount on the monitor reflecting a unit movement
                                         distance of the mouse 10 is 10 cm when low resolution is selected and used, it becomes
                                         possible to change the cursor movement amount on the monitor reflecting a unit movement
                                         distance of mouse 10 from 10 cm to 20 cm by switching to the high resolution program of
                                         the mouse 10, without changing the resolution of the monitor itself, which allows one to
                                         achieve the object of increasing the movement speed of the cursor of the mouse 10 on the
                                         monitor and is convenient in terms of user manipulation and control.”

                                         Zhong at ¶¶ 9-10.

                                         Chien discloses this claim element. See Exhibit B.

                                         Giorgio discloses this claim element. See Exhibit C.


[1g]: the mouse micro controller         Zhong discloses this claim element.
responding to the distance and moving
direction sensed by the X-Y axis plane   “When using the above structure, if there is need to change the image acquisition resolution
displacement detector to provide a       or the mouse 10 or the movement speed of the cursor on the monitor, through direct control
control signal to a computer connected   of the speed switch key or pushbutton 5, one of the resolution control programs (for




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’200 Patent Claim Elements               J.P. U3090806 (“Zhong”)
to the mouse, thereby moving the         example, a 400 dpi or 800 dpi mouse resolution program) in the microcontroller 1 is entered
mouse cursor on a screen of the          into, the image signal is read by the image sensor 2 at the speed given by the selected mouse
computer, the mouse cursor being         resolution program, and is transmitted from the microcontroller to the computer and made
moved directly based on the resolution   available for use.
value stored in the register.
                                         The mouse 10 of the present invention, as described above, achieves the object of the
                                         present invention in that, after the switching control of the speed switch key or pushbutton
                                         5, the appropriate resolution program selection is entered into in the microcontroller 1, and
                                         the image sensor 2 is made to read movement amount signals using that selected resolution
                                         program. Furthermore, assuming the resolution control program in the microcontroller 1 is
                                         divided into two types, one being low resolution (400 dpi) and the other high resolution
                                         (800 dpi), if the cursor movement amount on the monitor reflecting a unit movement
                                         distance of the mouse 10 is 10 cm when low resolution is selected and used, it becomes
                                         possible to change the cursor movement amount on the monitor reflecting a unit movement
                                         distance of mouse 10 from 10 cm to 20 cm by switching to the high resolution program of
                                         the mouse 10, without changing the resolution of the monitor itself, which allows one to
                                         achieve the object of increasing the movement speed of the cursor of the mouse 10 on the
                                         monitor and is convenient in terms of user manipulation and control.”

                                         Zhong at ¶¶ 9-10.

                                         Chien discloses this claim element. See Exhibit B.

                                         Giorgio discloses this claim element. See Exhibit C.

[2]: The apparatus as claimed in claim   Zhong discloses this claim element.
1, further comprising a button set for
clicking an icon selected by the mouse   “As shown in FIGS. 1, 2 and 3, the present invention combines a microcontroller 1 and an
cursor.                                  image sensor 2. Of these, the image sensor 2, under control of the microcontroller 1, reads
                                         the reference point count (resolution) of unit movement amounts, converts this to obtain x
                                         axis and y axis coordinate values, and then transmits these to the microcontroller 1, which
                                         sends these signals to and makes them available for use by a computer; furthermore, a key




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’200 Patent Claim Elements               J.P. U3090806 (“Zhong”)
                                         set 3 of left, middle, right, etc., keys and a PS2 or USB communication switch key 4 are
                                         connected to the microcontroller 1.”

                                         Zhong at ¶ 7 (emphasis added).




                                         Zhong at Fig. 1 (annotated)


[3]: The apparatus as claimed in claim   See prior analysis regarding claim 2.
2, wherein the button set has a left




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’200 Patent Claim Elements                    J.P. U3090806 (“Zhong”)
button and a right button.
[4]: The apparatus as claimed in claim        Zhong disclosed a switch on the underside of the mouse in Fig. 3. By May 2003, it was
1, wherein the switching circuit is           extremely common for commercial computer mice to have a resolution adjustment switch
configured on a lateral surface of the        configured on a lateral surface of the mouse. To the extent Zhong does not expressly
mouse.                                        discuss this feature, it would have been obvious to modify the mouse in Zhong to move the
                                              switch from the underside to the side of the mouse. The following references disclose a
                                              resolution adjustment switch configured on a lateral surface of the mouse: Chien GB
                                              2215455 (Fig, 2), Chien U.S. 4,963,858 (Fig. 2), Canakapalli US 2002/0135563 (Fig. 1),
                                              Hatanaka H4-23029 (Fig. 2), Higadishe H4-172522 (discussing the ASCII Article),
                                              Hisamatsu H6-102998 (Fig. 3), Kimura 1991-53322 (Fig. 4), Mihara 1991-278219 (Fig. 1),
                                              Tomikawa H8-123615 (Figs. 1 and 2), and the ASCII Article (Photos 1 and 2). See also
                                              Invalidity Contentions at Section (I)(C)(7).
[6a]: An apparatus for setting multi-         Zhong anticipates claim 6.
stage displacement resolution of a
mouse, comprising:                            See prior analysis regarding claim element [1a].
[6b]: a X-Y axis plane displacement           See prior analysis regarding claim element [1b].
detector, for sensing a distance and a
moving direction generated by the
mouse in
a two-dimensional space;
[6c]: an N-stage switch for setting a         Zhong discloses this claim element.
resolution value, the
N-stage switch circuit having a               The mouse described in Zhong adjusted the mouse resolution based on manual inputs from
switching button capable                      the user, and not computer software: “Generally, in the case of mice used with computers,
of being manually switched to one of          after connection thereof and installation of a driver program, the mouse cursor movement
positions 1 to N,                             speed is set in accordance with a settings value of the driver program. If there is a need to
and accordingly activating a connected        adjust the mouse cursor movement speed due to usage requirements, the adjustment is
resolution setting pin to indicate a state,   usually performed through mouse clicks under a Windows operating system. However, such
where N is a positive integer; and            adjustment only affects the execution speed of the mouse system and cannot change the
                                              resolution during mouse movement (and such known technology only has the function of
                                              increasing execution speed and does not have the function of increasing accuracy of
                                              resolution). Thus, the cursor movement speed and accuracy adjustment which this




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)
                                  accomplishes is limited, and the scheme for carrying this out is relatively laborious and not
                                  convenient to use.

                                  Known structures include another type of scheme for changing the movement speed of a
                                  mouse cursor on a monitor, which uses software computation and processes the coordinate
                                  signals (resolution) directly read by the mouse through a multiplication scheme to achieve
                                  the object of increasing cursor movement speed. However, this method, when reflecting one
                                  coordinate point read by the mouse onto the monitor, changes it to a movement distance of
                                  two, three or more coordinate points on the monitor, so movement accuracy of the cursor on
                                  the monitor is actually lost, making the method unsuitable for use with high precision
                                  screens.”

                                  Zhong at ¶¶ 2-3.

                                  Zhong disclosed adjusting the resolution directly: “The main object of the present invention
                                  consists in providing a type of mouse with adjustable cursor movement resolution, wherein
                                  the mouse is provided with a speed switch key, the resolution of the mouse is changed
                                  directly through switching operation of the speed switch key, thereby changing the
                                  movement speed of the mouse cursor on the monitor, the mouse being provided with good
                                  movement accuracy and being convenient in terms of manipulation and use.”

                                  Zhong at ¶ 4 (emphasis added).

                                  Zhong discloses a sliding 2-stage switch for setting a resolution value, the 2-stage switch
                                  circuit having a switching button capable of being manually switched to one of positions 1
                                  to N (in this case, N = 2): “A speed switch key or pushbutton 5 is connected to the
                                  microcontroller 1, which has two or more different built-in resolution control programs,
                                  which are selected and put to use by means of the speed switch key or pushbutton 5.”

                                  Zhong at ¶ 8.




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)




                                  Zhong at Fig. 3 (annotated, showing the switching circuit)

                                  Zhong discloses a resolution setting pin to indicate a state: “[T]he mouse with adjustable
                                  cursor movement resolution being characterized in that a speed switch key or pushbutton is
                                  connected to the microcontroller, two or more different resolution control programs are built




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’200 Patent Claim Elements        J.P. U3090806 (“Zhong”)
                                  into the microcontroller and made available for use through selection with the speed switch
                                  key or pushbutton, and when using the above structure, one resolution program of the
                                  microcontroller is selected through control of said speed switch key or pushbutton, the
                                  image sensor is made to read an image signal at a speed based on a different resolution,
                                  which signal further passes through the microcontroller and is transferred and made
                                  available for use to the computer, thereby making it possible to simply change the
                                  movement speed of the mouse cursor on the monitor and allowing good movement accuracy
                                  to be obtained.”

                                  Zhong at ¶ 5.




                                   Zhong at Fig. 2 (annotated)




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’200 Patent Claim Elements              J.P. U3090806 (“Zhong”)




                                        Zhong at Fig. 1 (annotated to show the resolution setting-pin and the switching circuit and
                                        switch)


[6d]: a mouse micro controller with a   See prior analysis regarding claim element [1d].
register, coupled to the
X-Y axis plane displacement detector
and the switching
circuit,




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’200 Patent Claim Elements                  J.P. U3090806 (“Zhong”)

[6e]: the mouse micro controller            See prior analysis regarding claim element [1e].
determining the resolution value based
on the state of the connected resolution
setting pins,

[6f]: setting a mouse resolution based      See prior analysis regarding claim element [1f].
on the resolution value and storing the
resolution value in the register,

[6g]: the mouse micro controller            See prior analysis regarding claim element [1g].
responding to the
distance and moving direction sensed
by the X-Y axis
plane displacement detector to provide
a control signal
to a computer connected to the mouse,
thereby moving
the mouse cursor on a screen of the
computer, the mouse
cursor being moved directly based on
the resolution
value stored in the register.
[7]: The apparatus as claimed in claim      See prior analysis regarding claim element 2.
6, further comprising
a button set for clicking an icon
selected by the mouse cursor.
[8]: The apparatus as claimed in claim      See prior analysis regarding claim element 3.
7, wherein the button
set has a left button and a right button.
[9]: The apparatus as claimed in claim      See prior analysis regarding claim element 4.
6, wherein the N-stage




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’200 Patent Claim Elements                  J.P. U3090806 (“Zhong”)
switch is configured on a lateral surface
of the mouse.




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     Invalidity of U.S. Patent No. 7,532,200 by IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product and Manual

Based upon the claim interpretations Better Mouse Company, LLC (“BMC”) appears to be asserting and the applications of those
interpretations to Defendants’ products in BMC’s Infringement Contentions, the IOGEAR GME 222 800 dpi USB Optical Mini Mouse
Product Manual, http://www.iogear.com/support/manual/GME222%20manual.pdf and the IOGEAR GME 222 800 dpi USB Optical
Mini Mouse anticipates and/or renders obvious, alone or in combination with other prior art identified in Defendants’ Invalidity
Contentions, the asserted claims as described in part below. This invalidity claim chart is not an admission by Defendants that the
accused products, including any current or past versions of these products, are covered by, or infringe these claims, particularly when
they are properly construed. Nothing in these contentions should be interpreted as an acquiescence to or assertion of a particular claim
construction by Defendants.

             ‘200 Claim Language                                            Disclosure
1.      1. An apparatus for setting         See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
        multi-stage displacement            http://www.iogear.com/support/manual/GME222%20manual.pdf.
        resolution of a mouse,
        comprising:                         See claim limitation 6.

1A      a X-Y axis plane displacement       See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
        detector, for sensing a distance    http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5
        and a moving direction              “Pictorial Introduction.”
        generated by the mouse in a
        two-dimensional space;              See claim limitation 6A.

1B      a switching circuit for setting a   See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
        resolution value, the switching     http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5
        circuit having multiple switches    “Pictorial Introduction.”
        for being manually adjusted to
        generate the resolution value       See claim limitation 6B.
        directly, each switch being
        coupled to a resolution setting
        pin, each resolution setting pin
        having a state determined by the
        switch coupled thereto; and
1C      a mouse micro controller with a     See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
        register, coupled to the X-Y        http://www.iogear.com/support/manual/GME222%20manual.pdf

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         ‘200 Claim Language                                            Disclosure
    axis plane displacement
    detector and the switching         See claim limitation 6C.
    circuit , the mouse micro
    controller determining the
    resolution value based on the
    states of the resolution setting
    pins, setting a mouse resolution
    based on the resolution value
    and storing the resolution value
    in the register, the mouse micro
    controller responding to the
    distance and moving direction
    sensed by the X-Y axis plane
    displacement detector to
    provide a control signal to a
    computer connected to the
    mouse, thereby moving the
    mouse cursor on a screen of the
    computer, the mouse cursor
    being moved directly based on
    the resolution value stored in
    the register.

2   2. The apparatus as claimed in     See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
    claim 1, further comprising a      http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
    button set for clicking an icon    Introduction.”
    selected by the mouse cursor.
                                       See claim limitation 7.


3   3. The apparatus as claimed in     See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
    claim 2, wherein the button set    http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial

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         ‘200 Claim Language                                              Disclosure
    has a left button and a right        Introduction.”
    button.
                                         See claim limitation 8.


4   4. The apparatus as claimed in       See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
    claim 1, wherein the switching       http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
    circuit is configured on a lateral   Introduction.”
    surface of the mouse.
                                         See claim limitation 9.



6   6. An apparatus for setting          See claim limitation 1.
    multi-stage displacement
    resolution of a mouse,
    comprising:                          The IOGEAR GME 222 800 dpi USB Optical Mini Mouse is an apparatus for
                                         setting multi-stage displacement resolution of a mouse.




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         ‘200 Claim Language                                             Disclosure
                                        See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
                                        http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
                                        Introduction.”




6A   a X-Y axis plane displacement      See claim limitation 1A.
     detector, for sensing a distance
     and a moving direction             The IOGEAR GME 222 800 dpi USB Optical Mini Mouse has a PAN 101 BOI-208
     generated by the mouse in a        “CMOS process optical navigation sensor with DSP integration chip,” made by
     two-dimensional space;             PixArt Imaging, Inc.




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‘200 Claim Language                                     Disclosure




                       See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
                       http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
                       Introduction.”




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         ‘200 Claim Language                                                 Disclosure




6B   an N-stage switch for setting a     See claim limitation 1B.
     resolution value, the N-stage       The N-stage switch is indicated by the red arrow. Three possible resolution values
     switch circuit having a             are indicated
     switching button capable of
     being manually switched to one
     of positions 1 to N, and
     accordingly activating a
     connected resolution setting pin
     to indicate a state, where N is a
     positive integer; and




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‘200 Claim Language                                         Disclosure

                       The N-Stage Switch is indicated by the red arrow
                       The micro controller unit is located under the protective resin as indicated by the
                       purple arrow
                       Each of the three resolution setting pins are indicated by the yellow arrows.




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‘200 Claim Language                                     Disclosure




                       See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
                       http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
                       Introduction.”




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         ‘200 Claim Language                                    Disclosure




6C   a mouse micro controller with a See claim limitation 1C.
     register, coupled to the X-Y
     axis plane displacement
     detector and the switching
     circuit, the mouse micro
     controller determining the
     resolution value based on the
     state of the connected resolution
     setting pins, setting a mouse
     resolution based on the
     resolution value and storing the
     resolution value in the register,
     the mouse micro controller

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     ‘200 Claim Language                                          Disclosure
responding to the distance and
moving direction sensed by the
X-Y axis plane displacement
detector to provide a control
signal to a computer connected
to the mouse, thereby moving
the mouse cursor on a screen of
the computer, the mouse cursor
being moved directly based on
the resolution value stored in
the register.




                                  The IOGEAR GME 222 800 dpi USB Optical Mini Mouse has a PAN 101 BOI-208
                                  “CMOS process optical navigation sensor with DSP integration chip,” made by
                                  PixArt Imaging, Inc.




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‘200 Claim Language                                       Disclosure
                       The datasheet reviewed for the PAN 101 chip shows that it includes a Digital Signal
                       Processor and a Register.




                       Two of the registers (0x02, 0x05) include bits holding resolution value




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‘200 Claim Language                                     Disclosure




                       See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
                       http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
                       Introduction.”




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        ‘200 Claim Language                                            Disclosure




7   7. The apparatus as claimed in    See claim limitation 2.
    claim 6, further comprising a
    button set for clicking an icon   See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
    selected by the mouse cursor.     http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
                                      Introduction.”




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‘200 Claim Language                                 Disclosure




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        ‘200 Claim Language                                            Disclosure




8   8. The apparatus as claimed in    See claim limitation 3.
    claim 7, wherein the button set
    has a left button and a right     See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
    button.                           http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
                                      Introduction.”




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        ‘200 Claim Language                                               Disclosure




9   9. The apparatus as claimed in      See, e.g., IOGEAR GME 222 800 dpi USB Optical Mini Mouse Product Manual,
    claim 6, wherein the N-stage        http://www.iogear.com/support/manual/GME222%20manual.pdf at part 5 “Pictorial
    switch is configured on a lateral   Introduction.”
    surface of the mouse.
                                        The IOGEAR GME 222 800 dpi USB Optical Mini Mouse is a USB optical mouse
                                        with a sliding switch on the side of the mouse for manual adjustment of cursor
                                        resolution.




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‘200 Claim Language                                 Disclosure




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